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 EXHIBIT A
Case 1:16-cv-00376-MAC-ZJH        Document 1-1 Filed 09/02/16 Page 2 of 2 PageID #:
                                           8
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

 GENE R. CHANCE                                         §
                                                        §
 VS                                                     §         C.A. No.
                                                        §
 E. I. DU PONT DE NEMOURS AND CO.                       §        COLLECTIVE ACTION
                                                        §
                                        CONSENT TO SUE

 I hereby consent to be a plaintiff in the above action filed pursuant to the Fair Labor Standards Act, 29
 U.S.C. § 201 et seq, to secure unpaid overtime, liquidated damages, attorney’s fees, costs and any other
 available relief arising out of my employment with the Defendant, El. Du Pont De Neumours and Co.,
 and/or any predecessor, successor, affiliated, or associated parties of the Defendant parties. I certify that
 I was paid on an hourly basis. I designate and authorize Reaud, Morgan & Quinn, LLP, and any
 associated attorneys to represent me with my claims by joining my claims to other claims against said
 Defendant in the above referenced lawsuit or any other lawsuit as my attorneys deem appropriate.

 By signing and returning this consent to sue, I understand that I will be represented by the above
 attorneys without prepayment of costs or attorneys’ fees. I understand that if Plaintiffs are successful,
 costs expended by attorneys on my behalf will be deducted from my settlement or judgment amount on
 a pro rata basis with all other plaintiffs. I also understand that the attorneys may petition the court for an
 award of fees and costs to be paid by defendants on my behalf I understand that the fees retained by the
 attorneys will be either the amount received from the defendant or 40% of my gross settlement or
 judgment amount, whicheve s greater.

 Signature:                                             Dated :                    —




 Printed Name: (‘ç)tJr

 Address:        11500 W\&                              Phone:                 -   Oflp
                 Ptcpj, 1]sR                            Email: Qj€rij .Qhpiri
